               Case 1:22-cv-00315-RMI Document 19 Filed 05/31/22 Page 1 of 4




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     RENATA L. BOGOMOLNAYA, ESQ. (SBN 276350)
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     591 Redwood Highway, Building4000
 3   Mill Valley, CA 94941-3039
 4   Telephone: 415-392-8400
     Facsimile: 415-520-5998
 5   admin@zanobinilaw.com

 6   Attorneys for Plaintiffs
 7
                                      UNITED STATES DISTRICT COURT
 8
                                     NORTHERN DISTRICT OF CALIFORNIA
 9
10   ALEXIS CHRISTINE MASCHMEIER and                        CASE NO.      1:22-CV-00315
11   MICHAEL MASCHMEIER, Individually, and as
     Successors in Interest to EMMA MASCHMEIER;             Assigned for All Purposes to:
12   and NANCY TOBIN,
                                                            MAGISTRATE JUDGE ROBERT M. ILLMAN
13                     Plaintiffs,
14   v.                                                     STIPULATION OF DISMISSAL AND
                                                            [PROPOSED] ORDER THERETO
15
     UNITED STATES OF AMERICA, a government
16   entity; OPEN DOOR COMMUNITY HEALTH
     CENTERS; OLIVER L. PUTTLER, JR., MD;
17   ELLEN MARY DRURY, CNM, RN; and DOES 1
     through 50, Inclusive,
18
                                                            File: 01/14/2022
                   Defendants.                              Trial:  TBD
19
     _________________________________________/
20

21                                              STIPULATION
22          IT IS HEREBY STIPULATED by and between the parties to this action through their
23   designated counsel that the following defendants in the above-captioned action are hereby dismissed
24   without prejudice pursuant to Fed. R. Civ. Pro. 41(a)(1):
25              •   OLIVER L. PUTTLER, JR., MD;
26              •   ELLEN MARY DRURY, CNM, RN;

27              •   OPEN DOOR COMMUNITY HEALTH CENTERS; and

28              •   DOES 1 through 50.

                                                      -1-
                                STIPULATION OF DISMISSAL AND [PROPOSED] ORDER
                 Case 1:22-cv-00315-RMI Document 19 Filed 05/31/22 Page 2 of 4




 1           DATED: May 26, 2022                                     LAW OFFICE OF MARK J. ZANOBINI PC

 2                                                                   /s/ Mark J. Zanobini
                                                                     MARK J. ZANOBINI
 3
                                                                     RENATA L. BOGOMOLNAYA
 4                                                                    Attorneys for Plaintiffs, ALEXIS CHRISTINE
                                                                      MASCHMEIER and MICHAEL
 5                                                                    MASCHMEIER, Individually, and as Successors
                                                                      in Interest to EMMA MASCHMEIER; and
 6                                                                    NANCY TOBIN,
 7

 8                       27 2022
             DATED: May _____,                                       STEPHANIE M. HINDS
                                                                     United States Attorney
 9
                                                                     /s/ Adrienne Zack 1
10                                                                   ADRIENNE ZACK
11                                                                   Assistant United States Attorney
                                                                     Attorneys for Defendant THE UNITED STATES
12

13

14

15                                                         ORDER

16            Based on the foregoing stipulation, the specified parties in this action shall be, and are hereby,
     DISMISSED WITHOUT PREJUDICE.
17
              IT IS SO ORDERED.
18

19                   May 31, 2022
             DATED: _______________, 2022
20

21                                                                   MAGISTRATE JUDGE ROBERT M. ILLMAN
                                                                     United States District Court
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28   1
      In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of perjury that all signatories
     have concurred in the filing of this document.
                                                                   -2-
                                    STIPULATION OF DISMISSAL AND [PROPOSED] ORDER
               Case 1:22-cv-00315-RMI Document 19 Filed 05/31/22 Page 3 of 4




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 6   Attorneys for Plaintiffs
 7
                                       UNITED STATES DISTRICT COURT
 8
                                      NORTHERN DISTRICT OF CALIFORNIA
 9
10   ALEXIS CHRISTINE MASCHMEIER and                          CASE NO.       1:22-CV-00315-RMI
11   MICHAEL MASCHMEIER, Individually, and as
     Successors in Interest to EMMA MASCHMEIER;
12   and NANCY TOBIN,

13                                                            CERTIFICATE OF SERVICE
                        Plaintiffs,

14   V.

15
     UNITED STATES OF AMERICA, a government
16   entity; OPEN DOOR COMMUNITY HEALTH
     CENTERS; OLIVER L. PUTTLER, JR., MD;                     File: 01/14/2022
17   ELLEN MARY DRURY, CNM, RN; and DOES 1                    Trial:  TBD
     through 50, Inclusive,
18
                        Defendants.
19
     - - - - -- - -- - - - - - - - -I
20

21           I am a resident of California, over the age of eighteen years, and not a party to the within action.

22   My business address is Law Office of Mark J. Zanobini; 591 Redwood Highway, Building 4000; Mill
     Valley, CA 94941-3039. On this date, I served the within documents:
23



     I
24                 •     Stipulation of Dismissal and [Proposed] Order there
25           by electronic service to those listed "via eflex." Based on a court order or an agreement of the
             parties to accept service by email or electronic transmission, I caused the above-entitled
26           document(s) to be sent to the persons at the email addresses listed below. I did not receive, within
27           a reasonable time after the transmission, any electronic message or other indicate that the
             transmission was unsuccessful.
28
                                                        - 1-
     Case No. 1:22-CV-00315-RMI                   PROOF OF SERVICE                    MASCHMEIER v. U.S.A., et al.
               Case 1:22-cv-00315-RMI Document 19 Filed 05/31/22 Page 4 of 4




 1   □      by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid
            for Certified Mail - Return Receipt Requested, in U.S. mail in the State of California, addressed
2           as set forth below. I am readily familiar with said law firm's practice for collection and processing
            of correspondence for mailing with the U.S. Postal Service; in the ordinary course of business,
 3
            correspondence is deposited with the U.S. Postal Service the same day.
4
     □      by personal delivery by having a true copy of the document(s) listed above enclosed in a sealed
 5          envelope and delivered by hand, via a courier service from 59 1 Redwood Highway, Building
            4000; Mill Valley, CA 94941-3039 to the person(s) at the address(es) set forth below.
 6
                                             Stephanie M. Hinds, Esq.
 7
                                              United States Attorney
 8                                              Adrienne Zack, Esq
                                          Assistant United States Attorney
 9                                     450 Golden Gate Avenue, Box 36055
                                          San Francisco, CA 94102-3495
10                                      T: 415-436-7031 II F: 415-436-6748
                                             adrienne.zack@usdoi.gov
11
12          I declare under penalty of perjury that the foregoing is true and correct. Executed on May ~         '
     2022 at Mill Valley, California.
13

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                                                        -2-
     Case No. 1:22-CV-00315-RMI                   PROOF OF SERVICE                    MASCHMEIER v. U. S.A., et al.
